                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA


THOMAS M. JAMES,                                      )
                                                      )
                              Plaintiff,              )
       vs.                                            )      1:09-cv-1204-WTL-TAB
                                                      )
GEO GROUP, INC., et al.,                              )
                                                      )
                              Defendants.             )




                           Entry Directing Further Proceedings

      For the reasons explained in this Entry, the complaint of Thomas M. James
(“James”) is rejected and he will be given an opportunity to file an amended complaint.

                                                 I.

       James is in the custody of the Arizona State Department of Corrections. He was
formerly confined at the New Castle Correctional Facility, in New Castle, Indiana (“New
Castle”). His lengthy and complex complaint in this action is his effort to sue at least 19
defendants for the alleged violation of his rights under both federal and state law during his
incarceration at New Castle and upon his transfer back to Arizona.

        James’ complaint violates the joinder of claims limitation of the Federal Rules of Civil
Procedure. In George v. Smith, 507 F.3d 605 (7th Cir. 2007), the Court of Appeals
explained that such a nonconforming complaint must be “rejected.” “Unrelated claims
against different defendants belong in different suits.” Id. at 607. Instead, Rule 18 allows
joinder of multiple parties only when the allegations against them involve the same conduct
or transaction and common questions of fact and law as to all defendants. Rule 18(a) of the
Federal Rules of Civil Procedure provides that “[a] party asserting a claim to relief as an
original claim, counterclaim, cross-claim, or third-party claim, may join, either as
independent or as alternate claims, as many claims, legal, equitable, or maritime, as the
party has against an opposing party.” “Thus multiple claims against a single party are fine,
but Claim A against Defendant 1 should not be joined with unrelated Claim B against
Defendant 2. Joinder of the defendants into one action is proper only “if there is asserted
against them jointly, severally, or in the alternative, any right to relief in respect of or arising
out of the same transaction, occurrence, or series of transactions or occurrences and if any
question of law or fact common to all defendants will arise in the action.” Fed. R. Civ. P.
20(a). In short, the courts do not allow an inmate to treat a single federal complaint as a
sort of general list of grievances.

       The violation here consists of the diversity of claims against the multitude of
defendants–specifically the claims alleged against the Arizona defendants based on events
that occurred in Arizona should not be joined with claims against the Indiana defendants
based on events that occurred in Indiana. Accordingly, the complaint is “rejected.”


                                               II.

      James shall have through December 10, 2009, in which to file an amended
complaint which does not violate Rule 18. In filing an amended complaint, the plaintiff shall
conform to the following guidelines:

       (a) the amended complaint shall comply with the requirement of Rule 8(a)(2) of the
       Federal Rules of Civil Procedure that pleadings contain "a short and plain statement
       of the claim showing that the pleader is entitled to relief. . . . ";

       (b) the amended complaint shall comply with the requirement of Rule 10 that the
       allegations in a complaint be made in numbered paragraphs, each of which should
       recite, as far as practicable, only a single set of circumstances;

       (c) the amended complaint must identify what legal injury he claims to have suffered
       and what persons are responsible for each such legal injury; and

       (d) the amended complaint shall contain a clear statement of the relief which is
       sought.

                                               III.

       Proceedings other than as specified above are stayed until further order.

       If an amended complaint is filed as directed in Part II of this Entry, the court will
screen it as required by 28 U.S.C. § 1915A. If no amended complaint is filed as directed
in Part III of this Entry, the action will be dismissed in its entirety without further notice to
the plaintiff.

       IT IS SO ORDERED.




                                                      _______________________________
Date: 11/23/2009                                      Hon. William T. Lawrence, Judge
                                                      United States District Court
                                                      Southern District of Indiana
Distribution:

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